Case 2:23-cv-16873-MCA-MAH            Document 57      Filed 05/31/24      Page 1 of 2 PageID: 326




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   NINA AGDAL,
                                                       Civil Action No. 23-16873 (MCA) (MAH)
                               Plaintiff,

                    v.

   DILLON DANIS,                                       ORDER TO SHOW CAUSE

                               Defendant.



         THIS MATTER having come before the Court by way of a status conference held on

  May 31, 2024;

         and the Court also having considered the letters filed by Plaintiff on May 30, 2024 and

  May 31, 2024 [D.E. 55-56];

         and this Court, by Order filed on April 25, 2024 [D.E. 54], having ordered Defendant

  Dillon Danis to produce all outstanding discovery responses to Plaintiff by May 10, 2024;

         and the April 25, 2024 Order having further advised Defendant Dillon Danis that failure

  to comply would result in the issuance of an Order to Show Cause as to why sanctions should not

  be imposed pursuant to Federal Rules of Civil Procedure 16(f) and 37;

         and it appearing that Defendant Dillon Danis has failed to comply with the Order, in that

  although the Defense has produced certain discovery responses, a substantial amount of

  discovery remains to be produced;

         and for good cause shown:

         IT IS on this 31st day of May 2024,
Case 2:23-cv-16873-MCA-MAH             Document 57       Filed 05/31/24      Page 2 of 2 PageID: 327




         ORDERED THAT Defendant Dillon Danis shall appear in person before the

  Undersigned on July 11, 2024, at 10:00 a.m., and show cause as to why the Court should not

  impose sanctions, including but not limited to monetary penalties, pursuant to Federal Rules of

  Civil Procedure 16(f) and 37, and Local Civil Rule 37.1, for failure to produce discovery

  responses as required by the Pretrial Scheduling Order filed on November 8, 2023 [D.E. 33], and

  the April 25, 2024 Order; and it is further

         ORDERED THAT all discovery deadlines are held in abeyance until Defendant Dillon

  Danis completes the production of the outstanding responses. If Defendant Dillon Danis

  completes production prior to the July 11th hearing, the parties will so alert the Court by way of a

  joint letter and propose any amended deadlines. Otherwise, the Court will set amended deadlines

  at the conclusion of the July 11th hearing.



                                                        s/ Michael A. Hammer___________
                                                        Hon. Michael A. Hammer
                                                        United States Magistrate Judge
